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                                                                              Eastern District of Kentucky
                          UNITED STATES DISTRICT COURT                                  !=!LED
                          EASTERN DISTRICT OF KENTUCKY
                                LEXINGTON DIVISION                                      SEP 0 9 2005
                          CIVIL ACTION FILE NO. 05-249-KSF                            AT LEXINGTON
                                                                                    LESLIE G WHITMER
                                                                                CLERK U S DISTRICT C O U i i l



DUANEand SAUNDRA
               SWANSON,
                     PLAINTIFFS
       V.                                             Agreed Order of Dismissal
                                                           with Prejudice
EQUIFAXINFORMATIONSERVICES
  LLC, ET AL.
                                DEFENDANTS       I
       Upon agreement of Plaintiffs, Duane and Saundra Swanson, and Defendant

Trans Union LLC (“TransUnion”), that all of Plaintiffs’ claims and causes of action

alleged against Trans Union in the above-captioned matter have been resolved and

settled to the mutual satisfaction of Plaintiffs and Trans Union, and the Court having

considered all matters brought to its attention relating to that statement,
                                                                                                  .
       IT IS HEREBY ORDERED AND ADJUDGED that all of Plaintiffs’ claims and

causes of action against Trans Union are hereby dismissed, with prejudice as settled,

with each Party to bear his, her or its own costs and attorneys’ fees herein; and

       IT IS FURTHER ORDERED AND ADJUDGED that this Order be entered as

final, there being no just reason for delay.                                        .

                                               JUDGE KARL S. FORESTER,
                                               UNITED STATES DISTRICT COURT
c
    Case: 5:05-cv-00249-KSF Doc #: 7 Filed: 09/09/05 Page: 2 of 2 - Page ID#: 33




           STIPULATED TO BY



    Kathe& S.%anford
    YUNKER& ASSOCIATES
    P.O. Box 21784
    Lexington, KY 40522-1784                            1818 Market Street, 30th Floor
                                                        Philadelphia, PA 19103-3699
    Counsel for Plaintiffi Duane and Saundra
    Swanson                                             Counsel for Defendant TRANSUNIONLLC

    Dated: August         2005                          Dated: A u g u s t a 2005


                             CLERK'S CERTIFICATE OF SERVICE
                                                       $k#
          This is to certify that on this t h e T b a y of        ,2005, a true and correct
    copy of the foregoing was served by mailing same to:
     John J. Friedline                              Katherine S. Sanford
     KILPATRICK   STOCKTON  LLP                     YUNKER & ASSOCIATES
     1100 Peachtree Street, Ste 2800                P.O. Box 21784
     Atlanta, GA 30309-4530                         Lexington, KY 40522-1784
     Counsel for Defendant EQUIFAX                  Counselfor PlaintiffCs
     INFORMATION SERVICESLLC
     Timothy P. Cree&
     SATZBERG,   TRICHON,KOGAN&
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